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                                No. 22-1733

                                   IN THE
                       United States Court of Appeals
                            for the Third Circuit
                             _______________
                           ZACHARY GREENBERG,
                                           Plaintiff-Appellee,
                                   v.

JERRY M. LEHOCKY, IN HIS OFFICIAL CAPACITY AS BOARD CHAIR OF THE DISCIPLI-
       NARY BOARD OF THE SUPREME COURT OF PENNSYLVANIA, ET AL.,
                                              Defendants-Appellants.
                             _______________
         On Appeal from an Order of the United States District Court
       for the Eastern District of Pennsylvania, No. 2:20-cv-03822-CFK
                         (Honorable Chad F. Kenney)
                                _______________
BRIEF FOR AMICI CURIAE HISPANIC NATIONAL BAR ASSOCIATION,
 NATIONAL ASIAN PACIFIC AMERICAN BAR ASSOCIATION, ASIAN
   PACIFIC AMERICAN BAR ASSOCIATION OF PENNSYLVANIA,
NATIONAL BAR ASSOCIATION, NATIONAL NATIVE AMERICAN BAR
   ASSOCIATION, NATIONAL LGBTQ+ BAR ASSOCIATION, AND
 NATIONAL ASSOCIATION OF WOMEN LAWYERS IN SUPPORT OF
                        APPELLANTS
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                 CORPORATE DISCLOSURE STATEMENT

      Each of the amici joining this brief—Hispanic National Bar Association,

National Asian Pacific American Bar Association, Asian Pacific American Bar

Association of Pennsylvania, National Bar Association, National Native American

Bar Association, National LGBTQ+ Bar Association, and National Association of

Women Lawyers—states that it has no parent corporation and that no publicly held

corporation owns more than ten percent of its stock.



                                             /s/ German A. Gomez
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                          INTERESTS OF AMICI CURIAE1

      Amici, Hispanic National Bar Association (HNBA), National Asian Pacific

American Bar Association (NAPABA), Asian Pacific American Bar Association of

Pennsylvania (APABA-PA), National Bar Association (NBA), National Native

American Bar Association (NNABA), National LGBTQ+ Bar Association

(LGBTQ+ Bar), and National Association of Women Lawyers (NAWL), are some

of the largest affinity bars serving under-represented members of the legal profession

across the United States. They are among those named in Pennsylvania Rule of

Professional Conduct 8.4(g) as protected from discrimination, harassment and bias

in the practice of law and they aim to assist the Court by bringing an added perspec-

tive to the issues presented in this case that is not represented directly by the parties.

      The HNBA is a non-profit organization that represents the interests of His-

panic legal professionals in the United States and its territories. The HNBA has

members across the U.S., including in Pennsylvania. The HNBA is committed to

advocacy on issues of importance to the Hispanic community living in the United

States.



1
  All parties consent to the filing of this brief. Pursuant to Federal Rule of Appellate
Procedure 29(a)(4)(E), amici state that no party’s counsel authored this brief in
whole or in part, and that no party or person other than amici or their counsel con-
tributed money toward the preparation or filing of this brief.
                                            1
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      The NAPABA is the nation’s largest Asian Pacific American membership or-

ganization, representing the interest of 60,000 attorneys, judges, law professors, and

law students. NAPABA serves as the national voice for the Asian Pacific American

legal profession. It promotes justice, equity, and opportunity for Asian Pacific

Americans and fosters professional development, legal scholarship, advocacy, and

community involvement toward achieving those goals.

      The APABA-PA is a non‑profit organization that represents the interests of

Asian Pacific American attorneys, judges, law professors, and law students in Penn-

sylvania, Northern Delaware and Southern New Jersey. Its mission is to support the

advancement of Asian Pacific American attorneys and to promote justice, equity,

and legal access, especially for all Asian Pacific American communities.

      The NBA is the nation’s largest national network of predominantly African-

America attorneys and judges. Its mission is to advance the science of jurisprudence;

improve the administration of justice; preserve the independence of the judiciary and

uphold the honor and integrity of the legal profession; to promote professional and

social intercourse among the members of the American and the international bars;

to promote legislation that will improve the economic condition of all American cit-

izens, regardless of race, sex or creed in their efforts to secure a free and untram-

meled use of the franchise guaranteed by the Constitution of the United States; and




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to protect the civil and political rights of the citizens and residents of the United

States.

      The NNABA is the nation’s largest national network of predominantly Na-

tive-America attorneys and judges and serves to raise the visibility of Native Amer-

ican attorneys in the legal profession. Although the NNABA shares many of the

same goals of diversity and increased understanding of our communities’ unique

cultural and legal issues with other minority bar associations, most of its members

are both U.S. citizens and citizens of their respective Tribal nations and, therefore,

also share the communal responsibility, either directly or indirectly, of protecting

the governmental sovereignty of the more than 560 independent Native American

Tribal governments in the United States.

      The LGBTQ+ Bar is a non-profit organization with more than 10,000 mem-

bers and subscribers including lawyers, judges, legal academics, law students, and

affiliated legal organizations supportive of lesbian, gay, bisexual, transgender, and

queer rights. The LGBTQ+ Bar and its members work to promote equality for all

people regardless of sexual orientation or gender identity or expression, and fight

discrimination against LGBTQ+ people as legal advocates.

      The NAWL has been empowering women in the legal profession since 1899,

cultivating a diverse membership dedicated to equality, mutual support, and collec-

tive success. The mission of the NAWL is to provide leadership, a collective voice,

                                           3
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and essential resources to advance women in the legal profession and advocate for

the equality of women under the law. the NAWL represents the interests of thou-

sands of women lawyers, judges, law professors, and law students, including hun-

dreds in Pennsylvania.




                                        4
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                                 INTRODUCTION

              “Lawyers have a unique position in society as professionals re-
              sponsible for making our society better. Our rules of professional
              conduct require more than mere compliance with the law. Be-
              cause of our unique position as licensed professionals and the
              power that it brings, we are the standard by which all should
              aspire. Discrimination and harassment . . . is, and unfortunately
              continues to be, a problem in our profession and in society. Ex-
              isting steps have not been enough to end such discrimination and
              harassment.”2

      Equality and respect for all individuals lie at the heart of our legal system.

Discrimination and harassment by lawyers, including conduct manifesting bias or

prejudice towards others, undermine confidence in the legal profession and the legal

system.

      In furtherance of these unassailable principles, in August 2016 the ABA

House of Delegates approved Resolution 109 to amend Model Rule of Professional

Conduct 8.4 to include an anti-harassment and anti-discrimination provision.3 Pre-




2
  Paulette Brown, ABA President, Remarks at Public Hearing on Amendments to
ABA Model Rule 8.4 (Feb. 7, 2016), https://www.americanbar.org/con-
tent/dam/aba/administrative/professional_responsibil-
ity/aba_model_rule%208_4_comments/february_2016_public_hearing_tran-
script.pdf.
3
  See generally Materials surrounding the adoption of Resolution 109, Model Rule
of Professional Conduct 8.4 (Aug. 18, 2018), https://www.ameri-
canbar.org/groups/professional_responsibility/committees_commissions/eth-
icsandprofessionalresponsibility/modruleprofconduct8_4/.

                                           5
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existing rules focused on discrimination and harassment in the context of the admin-

istration of justice; the amendment to ABA Model Rule 8.4(g) expanded the scope

to include all areas related to the practice of law.

        Amici, the Hispanic National Bar Association (HNBA), the National Asian

Pacific American Bar Association (NAPABA), the National Bar Association

(NBA), the National Native American Bar Association (NNABA), the National

LGBTQ+ Bar, and the National Association of Women Lawyers (NAWL) joined

other affinity bar groups to express strong support for Resolution 109.4 Amici’s high-

est priority in supporting the resolution was to assure an end to discrimination and

harassment in the legal profession, promoting the equal representation of and oppor-

tunity for diverse attorneys: “[I]t is time for our profession to unequivocally demand

that discrimination and harassment in conduct relating to the practice of law is un-

ethical, and that all lawyers have the right to function in a profession that is free from

such conduct.” 5 Citing “real life examples from our experiences,” Amici showed


4
  See Letter from National Diverse Bar Association to Myles V. Lynk, Chair, ABA
Standing Committee on Ethics and Professional Responsibility (July 22,
2016), https://www.americanbar.org/content/dam/aba/administrative/profes-
sional_responsibility/national_affinity_bars_letter_support_model_rule_8_4.pdf.
(NDBA Letter); Letter from Marsha L. Anastasia, President, National Association
of Women Lawyers, to Myles V. Lynk, Chair, ABA Standing Committee on Ethics
and Professional Responsibility (July 21, 2016), https://www.americanbar.org/con-
tent/dam/aba/administrative/professional_responsibility/nawl_letter_support_reso-
lution_109.pdf (NAWL Letter).
5
    NDBA Letter at 2, supra note 4.
                                            6
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the direct link from discrimination and harassment to persistent under-representation

of many minority groups in the legal profession.6 This included “a constant state of

‘otherness’ that requires our members to justify their right to simply be an equal

member at the bar or at the table” with concerns playing out “in situations including,

but not limited to, pay disparities and exclusion from case assignments, opportuni-

ties, development, sponsorship, or resources” while “[s]tudy after study has shown

stagnant progress of women and diverse attorneys in the profession, against the

backdrop of an America, and of a profession, that is becoming increasingly di-

verse.”7 Amici urged the adoption of the proposed rule as “a mechanism for remov-

ing barriers to advancement for women and minorities in a profession that is charged

with providing justice for all.” The amended rule was “necessary because explicit

and implicit discrimination is still pervasive in our institutions as well as across a

counsel table.”8 Amici’s letter concluded:


              Our members experience unequal pay for equal work, misogyn-
              istic comments and actions by opposing counsel, limited access
              to decision-makers, sexual harassment and objectification, ineq-
              uitable reviews that lead to inequitable compensation, diminish-
              ing comments and behavior in meetings, and mistaken assump-
              tions that undermine earned progression in the profession. Those
              who have experienced these instances of discrimination and har-
              assment are the ones whose careers are derailed, stalled or halted

6
    Id.
7
    Id.
8
    Id.
                                           7
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                 while the perpetrators continue to climb the ladder of success un-
                 impeded in what is essentially an endorsement of their behavior.9

         After the ABA adopted the amendment to Model Rule 8.4, the Supreme Court

of Pennsylvania made its own determination whether to similarly amend Pennsylva-

nia Rule of Professional Conduct 8.4 and its corresponding comments. The Court

concluded that Pennsylvania has a compelling interest in “eradicating discrimination

and harassment, ensuring that the legal profession functions for all participants,

maintaining the public confidence in the legal system’s impartiality, and its trust in

the legal profession as a whole.”10 It amended Rule 8.4(g) to allow Pennsylvania to

regulate the attorneys it licenses to ensure “the efficient and law-based resolution of

disputes and guaranteeing that its judicial system is equally accessible to all.”11

         The district court blocked that Rule because it apparently infringes speech

protected under the First Amendment and it is too vague under the Fourteenth

Amendment’s Due Process Clause. That legal conclusion rests on a long string of

contingencies and hypotheticals: Appellee could make an unspecified (and appar-

ently offensive) statement about a controversial topic at a future CLE event, that

someone in attendance may complain about that statement, and that Disciplinary



9
    NAWL Letter at 1, supra note 4.
10
  Defendants’ Motion for Summary Judgment at 32, Greenberg v. Goodrich, No.
20-cv-03822 (E.D. Pa. Nov. 16, 2021), ECF No. 61.
11
     Id. at 2.
                                              8
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Counsel might investigate the incident and file a disciplinary complaint against Ap-

pellee. That was despite the last “might” in the string being entirely negated by a

sworn declaration by Disciplinary Counsel that none of the situations hypothesized

by Appellee would involve a violation of the rule.

      We urge this Court to reverse the decision below. The text and goals of Penn-

sylvania Rule of Professional Conduct 8.4(g) are not only legal as Appellants’ open-

ing brief explains in careful detail—but also, as explained below, important and nec-

essary to our legal profession.

                                  ARGUMENT

I.    A LEGACY OF DISCRIMINATION AND THE RESULTING UNDER-
      REPRESENTATION OF WOMEN AND MINORITY GROUPS IN
      THE LEGAL PROFESSION REMAINS A SIGNIFICANT PROBLEM.
      The history of discrimination, harassment, and bias against the groups pro-

tected by Rule 8.4(g) is well documented. It took a ruling by the Supreme Court in

Sweatt v. Painter, 339 U.S. 629 (1950), to mandate the admission of the first African

American to the University of Texas Law School. Like many states, Pennsylvania

struggled with desegregation in the public school system in the decades following




                                         9
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the Supreme Court’s decision in Brown v. Board of Education. Indeed, in Philadel-

phia, school segregation increased in the ten years following the decision.12 Suc-

cessful Pennsylvania school desegregation cases continued to be filed in the 1960s

and 1970s, against strong opposition. See, e.g., Chisholm v. Bd. of Pub. Educ., 240

F. Supp. 862 (E.D. Pa 1965); Hoots v. Commonwealth of Pa., 359 F. Supp. 807, 813

(W.D. Pa. 1973). Resolution of the cases lingered as late as the early 2000s.13

      Minority candidates sought admission to law school and the Pennsylvania Bar

against this forbidding historical backdrop. The first Black lawyer in Pennsylvania,

Jonathan Jasper Wright, was denied admission to the Pennsylvania bar until 1865,

after passage of the post-Civil War Civil Rights Acts.14 Between 1955 to 1970, a

mere 83 Black lawyers were admitted to the Pennsylvania Bar.15 Even by the 1970s,




12
  Anne E. Phillips, A History Of The Struggle For School Desegregation In Phila-
delphia, 1955–1967, Pennsylvania History: A Journal of Mid-Atlantic Studies, Vol.
72, No. 1, at 51 (2005).
13
  Stephen Worthington, Eluding Equity: School Segregation in Pennsylvania, Penn
State Law Review (Apr. 4, 2014), https://www.pennstatelawreview.org/the-fo-
rum/eluding-equity-school-segregation-in-pennsylvania/.
14
  R.H. Woody, Jonathan Jasper Wright, Associate Justice of the Supreme Court of
South Carolina, 1870 – 1877, The Journal of Negro History, vol. 18 no. 2 (April
1933).
15
  Carl Singley, Standing on the Shoulders: the Black Philadelphia Lawyer, The
Philadelphia Lawyer, vol. 82 no. 2 (July 10, 2019), http://cdn.co-
verstand.com/7683/601526/57d26f2e1a54eaa95954d80c14147af48164917b.15.pdf.
                                         10
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there still were only 4,000 Black lawyers in the United States16 – and fewer than 300

of them were in Pennsylvania.17

      Because Black lawyers were not granted full access in the profession due to

discrimination, they could not realize their potential as attorneys. Even as of 2021,

Philadelphia – the nation’s sixth-largest city, with a population that is 43% Black18

– still fares poorly for law firm diversity; only 7% of all law firm partners in Phila-

delphia are lawyers of color. See 2022 ABA Profile of the Legal Profession, at 28

(July 2022), https://www.americanbar.org/content/dam/aba/administra-

tive/news/2022/07/profile-report-2022.pdf.

      The pace of appointment of Hispanic, Asian American, Black, Native Amer-

ican, and other historically discriminated against groups to the bench has also been

late and slow. The glacial pace of change in the legal profession is not Pennsylva-

nia’s problem alone. As recently as 2021, the U.S. Department of Labor’s Bureau

of Labor Statistics reported that 87.9% of lawyers are White, a higher percentage




16
  Todd Burroughs, The Current State of Black Lawyers, In and Out of the Civil
Rights Arena (Jan./Feb. 2007), https://mcca.com/mcca-article/current-state-of-
black-lawyers/.
17
  Charles Mitchell, The Black Philadelphia Lawyer, 20 Vill. L. Rev. 371 (1974),
https://digitalcommons.law.villanova.edu/cgi/viewcontent.cgi?article=2078&con-
text=vlr.
18
  See US Census Bureau, https://www.census.gov/quickfacts/fact/table/philadel-
phiacountypennsylvania/AGE775221.
                                          11
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than in any other profession including architects, accountants, and physicians. 19

This statistic has been stubbornly unchanged since 2015, when the Washington Post

reported that the law is one of the least racially diverse professions in America, with

88% of lawyers being white.20

           In fact, all people of color are under-represented in the legal profession. Only

4.5% of lawyers are Black, but 13.4% of Americans are Black.21 Hispanics make

up about 18% of the U.S. population; however, less than 6% of all lawyers in the

U.S. are Hispanic.22 Less than 5% of lawyers are Asian Americans compared to

amounting to 6% of the U.S. population.23 Latinas in the legal profession suffer the

lowest representation of any racial or ethnic group as compared to their overall pres-

ence in the national population.24 And Native American lawyers, for their part, have



19
    See U.S. Department of Labor’s                     Bureau     of   Labor    Statistics,
https://www.bls.gov/cps/cpsaat11.htm.
20
  See Deborah L. Rhode, Law is the least diverse profession in the nation. And law-
yers aren’t doing enough to change that, Washington Post (May 27, 2015 8:25am),
https://www.washingtonpost.com/posteverything/wp/2015/05/27/law-is-the-least-
diverse-profession-in-the-nation-and-lawyers-arent-doing-enough-to-change-that/.
21
     Id.
22
  2022 ABA Profile of the Legal Profession (July 2022), https://www.ameri-
canbar.org/content/dam/aba/administrative/news/2022/07/profile-report-2022.pdf.
23
  Chung, E., Dong, S., Hu, X. A., Liu, G., and Kwon, C.A, Portrait of Asian Amer-
icans in the Law, (2017) https://www.apaportraitproject.org/.
24
  Joanna Andrade Lehmann, The Ongoing Struggle of Latina Women in Law, The
Daily Business Review (May 19, 2022), https://www.law.com/dailybusinessre-
view/2022/05/19/the-ongoing-struggle-of-latina-women-in-law/.
                                              12
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been largely excluded from the legal profession altogether.25 In 2010, for example,

Native American lawyers comprised only 0.2% of all attorneys in the United

States.26

           This lack of racial diversity in the legal profession pervades the private prac-

tice of law.       According to the 2021 Minority Corporate Counsel Association

(MCCA) Law Firm Diversity Survey, only 5% of associates and fewer than 2% of

law firm partners are Black. 27 Fewer than 1% of law firm partners are Black

women.28 Only 6% of associates and fewer than 3% of partners are Latino.29 The

numbers are even lower for Latina attorneys, with only 2.7% of associates and 0.8%

of law firm partners being Latina.30 The attrition rate of attorneys from under-rep-

resented racial and ethnic groups who left law firms was much higher than for White

attorneys.31


25
  National Native American Bar Association, The Pursuit of Inclusion: An In-Depth
Exploration of the Experiences and Perspectives of Native American Attorneys in
the Legal Profession, (Feb. 11, 2015) 2015-02-11-final-NNABA_report_pp6.pdf.
(NNABA).
26
     Id.
27
   2021 Minority Corporate Counsel Association (MCCA) Law Firm Diversity Sur-
vey, https://mcca.com/wp-content/uploads/2021/12/2021-MCCA-Law-Firm-Diver-
sity-Survey-Report.pdf.
28
     Lehmann, supra note 24.
29
     ABA Profile, supra note 22.
30
     Id.
31
     MCCA, supra note 27.
                                              13
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           As for women in the legal profession, although they have represented on av-

erage almost 50% of all law school graduates since the mid-1990’s32 and make up

38% of all attorneys at surveyed firms, they still only represent roughly 20% of law

firm partners. 33 Indeed, men are five times more likely to make partner than

women—and that is so, even controlling for other factors such as law school grades

and time spent out of the workforce or on part-time schedules.34

           The same is true for General Counsel positions: women only represent 26%

of General Counsel in Fortune 500 companies;35 and 23% of General Counsel in

Fortune 501 to 1,000 companies.36 And women are consistently under-represented

in lead counsel positions and in the role of trial attorney:37


32
   Elizabeth Katz, Kyle Rozema, and Sarath Sanga, Women in U.S. Law Schools,
1948-2021 (Aug. 16, 2022), https://papers.ssrn.com/sol3/papers.cfm?ab-
stract_id=4194210.
33
     Id.
34
 Theresa Beiner, Not All Lawyers Are Equal: Difficulties That Plague Women and
Women of Color, 58 Syracuse L. Rev. 317 (2007-2008).
35
  American Bar Association - Commission on Women in the Profession , A Current
Glance at Women in the Law (January 2018), https://www.pbi.org/docs/default-
source/default-document-library/10569_a-current-glance-at-women-in-the-law-
jan-2018-(1).pdf?sfvrsn=0.
36
     Id.
37
   See New York State Bar Association, If Not Now, When? Attorneys in the Court-
room and in ADR (2017), https://nysba.org/NYSBA/Practice%20Resources/Sub-
stantive%20Reports/PDF/Com%20Fed%20Women%20Initiatives%20Re-
port%20Amended.pdf; Stephanie A. Scharf & Roberta D. Liebenberg, ABA Com-
mission on Women in the Profession, First Chairs at Trial: More Women Need Seats

                                            14
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              • In civil cases surveyed, 68% of all lawyers were men;38

              • In civil cases surveyed, 76% of the lead counsel were men;39

              • 87% of lead counsel in class actions are men;40 and

              • In criminal cases surveyed, 67% of lawyers were men.41

           Once again, the reasons for the under-representation are not mysterious. A

recent study found that 35% of female lawyers have been sexually harassed at work

and 70% of female lawyers reported hearing sexist comments, stories, or jokes at

work.42 Of those harassment victims, 77% never reported the incident.43

           A lack of gender and racial diversity also persists in the federal and state ju-

diciary. On the federal bench, as of October 2019, 80% of all sitting federal judges




at the Table–A Research Report on the Participation of Women Lawyers as Lead
Counsel and Trial Counsel in Litigation at 15 (2015), https://www.ameri-
canbar.org/content/dam/aba/administrative/women/first_chairs_final.pdf .
38
   Id. at 9.
39
     Id. at 10.
40
     Id. at 12.
41
     Id. at 13.
42
  Joan C. Williams, Marina Multhaup, Su Li, and Rachel Korn, You Can’t Change
What You Can’t See, at 9 (2018), https://mcca.com/wp-content/up-
loads/2018/09/You-Cant-Change-What-You-Cant-See-Executive-Summary.pdf.
43
     Id.
                                              15
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were white; 73% were male.44 Less than half of one percent of all federal judges

identify as Native American.45 46 Only 33% of active U.S. district court judges and

35% percent of federal courts of appeals judges are women.47 Asian Americans

comprise only 3% of federal judges.48 Currently, there are only 11 openly LGBTQ+

judges.49 State courts are not immune.50 In state high courts, only 36% of judges

are women; in state intermediate appellate courts 39%; and in state trial courts

33%.51 Asian Americans comprise only 2% of state judges52 and women of color

represent only 18% of all state court judges.53 This under-representation of women

and people of color in the legal profession has damaged the public’s perception of


44
  Sam Hananel, Release: New CAP Report Shows Stunning Lack of Diversity in
Federal Judiciary, (Oct. 3, 2019), https://www.americanprogress.org/press/re-
lease/2019/10/03/475346/release-new-cap-report-shows-stunning-lack-diversity-
federal-judiciary/.
45
     ABA Profile, supra note 22.
46
  On May 18, 2022, Sunshine Suzanne Sykes (Navajo Nation) was confirmed by
the United States Senate as a federal district judge for the United States District
Court for the Central District of California which may marginally change this num-
ber.
47
     Id.
48
     Chung, supra note 23.
49
  MCCA, LGBTQ+ Article III Judges, https://mcca.com/resources/reports/federal-
judiciary/lgbt-judges/.
50
     Id.
51
     Id.
52
     Chung, supra note 23.
53
     The Gavel Gap, https://gavelgap.org/.
                                             16
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the profession, and the Pennsylvania Supreme Court wanted to prevent this conduct

through its regulation of the bar and specifically Rule 8.4(g).

II.      ATTORNEY DISCIPLINE PROCEEDINGS DEMONSTRATE THE
         BREADTH AND DEPTH OF HOSTILITY TOWARD UNDER-REP-
         RESENTED POPULATIONS IN THE LEGAL PROFESSION.

         There is no denying that the legal profession has a long way to go in the pro-

motion of racial, gender, and sexual-identity equity. One need only look at recent

discipline cases condemning lawyer conduct that Rule 8.4(g) prohibits.

         A.      In the Courtroom

              • In a domestic relations case, an attorney repeatedly referenced the

                 wife’s new boyfriend as “the black man” or “the black guy” and implied

                 that his race was bad for the child;54

              • Another lawyer made “racial innuendo,” accusing prosecutor of “turn-

                 ing black” during court recess;55

              • One male attorney referred to female attorney as a “crazy chicken” and

                 “girl” during hearing;56




54
     In re Thomsen, 837 N.E.2d 1011 (Ind. 2005).
55
     In re Vincenti, 554 A.2d 470 (N.J. 1989).
56
     In re Valcarcel Mulero I, 142 D.P.R. 41 (1996).
                                              17
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              • Judge to referred male attorney for possible discipline after discovering

                 “See You Next Tuesday” is “covert insult” to women.57

              • Another lawyer approached a social worker who had just testified at a

                 hearing and called her a “baby-snatching b[****];”58

              • Another attorney “made offensive comments to court reporter about her

                 breasts.”59

         B.      In Court Filings and Depositions

              • One lawyer called opposing counsel “babe” and made other derogatory

                 sexual remarks;60

              • Another male attorney addressed female attorney as “dear,” “hon,” and

                 a “sorry girl,” said she had a “cute little thing going on,” and asked why

                 she was not wearing her wedding ring during deposition;61




57
  Meghann Cunnif, Law & Crime (July 25, 2022), https://lawandcrime.com/awk-
ward/judge-to-refer-male-attorney-for-possible-discipline-after-discovering-see-
you-next-tuesday-is-covert-insult-to-women/.
58
     Att’y Grievance Comm’n v. Sanderson, 213 A.3d 122, 136, 159 (Md. 2019).
59
     In re Disciplinary Procs. Against Beatse, 722 N.W.2d 385, 388 (Wis. 2006).
60
     Mullaney v. Aude, 730 A.2d 759, 767 (Md. Ct. Spec. App. 1999).
61
 Laddcap Value Partners, LP v. Lowenstein Sandler P.C., No. 600973-2007, 2007
WL 4901555 (N.Y. Sup. Ct. Dec. 5, 2007).
                                              18
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              • Another male attorney joked about female attorney “getting meno-

                 pause”;62

              • Another attorney unsuccessfully argued against discipline for making

                 anti-Semitic remarks to opposing counsel in a deposition because he

                 had a right to represent his client vigorously and zealously; 63

              • Another male attorney called opposing counsel “little lady,” “young

                 girl,” and “little girl”. 64

         C.      In Chambers

              • One judge was disciplined for a litany of “indelicate sexual and ethnic

                 remarks”;65

              • One California judicial discipline case involved a raft of racist remarks,

                 including “Mexican jumping bean” and “tamales” labels;66

              • Another lawyer was disciplined for sending two ex parte communica-

                 tions to a trial judge asking whether the judge would believe an alien or

                 a U.S. citizen;67


62
     Cruz-Aponte v. Caribbean Petrol. Corp., 123 F. Supp. 3d 276 (D.P.R. 2015).
63
     In re Williams, 414 N.W.2d 394, 396 n.6 (Minn. 1987).
64
     Principe v. Assay Partners, 586 N.Y.S.2d 182 (Sup. Ct. 1992).
65
     Gonzalez v. Comm’n on Jud. Performance, 657 P.2d 372, 381-82 (Cal. 1983).
66
     In re Stevens, 645 P.2d 99, 99-100 (Cal. 1982).
67
     In re McGrath, 280 P.3d I 091 (Wash. 2012) (en banc).
                                                19
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              • One lawyer representing a father at a child support hearing was disci-

                 plined for making repeated disparaging references to the mother’s lack

                 of U.S. citizenship and receipt of free legal services;68

              • Another lawyer was sanctioned for making overtly sexual comments to

                 a judge, clerk, and judicial assistant.69

         D.      Workplace and Client Contact

              • In office emails, one lawyer referred to a Black female judge as “Ghetto

                 Hippopotamus” and “a despicable impersonation of a human woman,

                 who ought to [have] her cervix yanked out of her by the Silence of the

                 Lamb[s] guy, and force[-]fed to her,” among other remarks;70

              • Another attorney sent a 20-page anti-Semitic screed to client;71

              • Another lawyer was sanctioned for calling the judge as a “c***” while

                 negotiating a plea deal for his client;72




68
     In re Campiti, 937 N.E.2d 340 (Ind. 2009).
69
  People v. Malouff, No. 20PDJ055, 2020 WL 5629838 (Colo. O.P.D.J. Aug. 25,
2020).
70
     Att’y Grievance Comm’n v. Markey, 230 A.3d 942, 944 (Md. 2020).
71
  Att’y Grievance Comm’n v. Maiden, --- A.3d ---, 2022 WL 2977055 (Md. July 28,
2022).
72
     People v. Gilbert, No. 10PDJ067, at 13-16 (Colo. O.P.D.J. Jan. 14, 2011).
                                              20
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            • Another lawyer was sanctioned for telling a client’s Black son that he

               was “behaving like some kid out of the ghetto”;73

            • Another lawyer was sanctioned for calling his client’s mother a “c***”

               in a text message;74

            • Another lawyer was disciplined for sexually harassing four female cli-

               ents and one female employee;75

            • A district attorney was disciplined for sending inappropriate texts to the

               victim of domestic abuse;76

            • A lawyer acting as an adjunct professor and supervising law students in

               a clinic was disciplined for making unwelcome comments about the

               student’s appearance and engaging in unwelcome physical contact of a

               sexual nature with the student;77




73
  People v. Wareham, No. 17PDJ021, 2017 WL 4173661, at *1 (Colo. O.P.D.J.
Sept. 13, 2017).
74
  People v. Frazier, No. 19PDJ053, 2019 WL 7604760 (Colo. O.P.D.J. Dec. 30,
2019).
75
     In re Moothart, 860 N.W.2d 598 (Iowa 2015).
76
     In re Kratz, 851 N. W.2d 219 (Wis. 2014).
77
     In re Griffith, 838 N.W.2d 792 (Minn. 2013).
                                             21
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              • Another attorney was disciplined for unwanted sexual advances on

                 coworker, including physical contact plus offering her money to buy

                 “lucky underwear” and telling her to wear makeup. 78

         E.      Social Media and Other Public Speech

              • One attorney was charged by the bar’s Grievance Committee for en-

                 gaging in a racist rant and threating to call immigration on Midtown

                 Fresh Kitchen workers for speaking Spanish, and he agreed to submit

                 to discipline for that misconduct;79

              • Another attorney was disbarred for making disparaging remarks about

                 a judge and two attorneys on social media;80

              • Another lawyer was disciplined for violating Lawyer’s Oath requiring

                 lawyers to “maintain the dignity of the legal system” after posting of-

                 fensive comments regarding George Floyd on Facebook.81

         Without Rule 8.4 or its Pennsylvania equivalent, these scenarios may not sub-

ject lawyers to bar discipline. That is what Rule 8.4 was designed to address.




78
     In re DeLadurantey, 976 N.W.2d 844, 846-47 (Wis. 2022).
79
     In re Schlossberg, 137 N.Y.S.3d 44 (N.Y. App. Div. 2020).
80
  Florida Bar v. Krapacs, No. SC19-277, 2020 WL 3869584 (Fla. July 8, 2020); In
re Krapacs, 138 N.Y.S.3d 290 (N.Y. App. Div. 2020).
81
     In re Traywick, 860 S.E.2d 358 (S.C. 2021).
                                             22
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III.       CONTINUED DISCRIMINATION, HARASSMENT, AND BIAS IN
           THE LEGAL WORKPLACE DEMONSTRATES THE NEED FOR
           RULE 8.4(g).

           Discrimination, harassment, and bias persist in our profession despite federal

and state anti-discrimination laws and still exist at all levels of society.82 Workplace

discrimination, harassment, and bias takes many forms, but a pattern persists: cer-

tain demographic groups within the workforce are unfairly excluded from experi-

ences and opportunities for which they are qualified.83 Studies repeatedly document

that discrimination, harassment, and bias in the practice of law are not confined to

the courtroom and, in fact, negatively impact the legal workplace from law school

preparation to the Supreme Court:

              • Resumes with “ethnic” names are disproportionately not selected for

                 interviews;84




82
  See Understanding Implicit Bias, The Kirwan Institute for the Study of Race and
Ethnicity,    The     Ohio      State    University,    (2015)     https://kirwaninsti-
tute.osu.edu/sites/default/files/pdf/2015-implicit-bias-review.pdf; Understanding
Implicit Bias, The Kirwan Institute for the Study of Race and Ethnicity, The Ohio
State University, (2016), https://kirwaninstitute.osu.edu/sites/default/files/pdf/2016-
implicit-bias-review.pdf.
83
     Id.
84
   Marianne Bertrand and Sendhil Mullainathan, Are Emily and Greg More Employ-
able Than Lakisha and Jamal? A Field Experiment on Labor Market Discrimination
(Sept.       2004),       https://cos.gatech.edu/facultyres/Diversity_Studies/Ber-
trand_LakishaJamal.pdf.
                                             23
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         • Women on average receive lower starting pay than men;85

         • Women law firm partners on average earn 30% less than male law part-

            ners;86

         • Legal memos written by a Black associate may be evaluated more

            harshly than the identical memo presented by a White associate;87

         • Female Supreme Court Justices are interrupted more often than male

            Justices;88

         • Women lawyers cannot demonstrate anger in the same way as male

            lawyers without facing negative reactions;89




85
   Institute for Women’s Policy Research, Pay Equity & Discrimination,
https://iwpr.org/?s=pay+wage+gap.
86
  2020 Partner Compensation Survey, Major Lindsey & Africa (Dec. 15, 2020),
https://www.mlaglobal.com/en/insights/research/2020-partner-compensation-re-
port.
87
   Dr. Arin N. Reeves, Written in Black & White Exploring Confirmation Bias in
Racialized Perceptions of Writing Skills, Nextions (Apr. 1, 2014), https://nex-
tions.com/insights/perspectives/written-in-black-white-exploring-confirmation-
bias-in-racialized-perceptions-of-writing-skills/.
88
  Tonja Jacobi and Dylan Schweers, Female Supreme Court Justices Are Inter-
rupted More by Male Justices and Advocates, Harvard Business Review (Apr. 11,
2017),     https://hbr.org/2017/04/female-supreme-court-justices-are-interrupted-
more-by-male-justices-and-advocates.
89
  Elizabeth Olson, Women Lawyers Held to Tougher Standard When It Comes to
Anger, Bloomberg Law (Apr. 13, 2018), https://news.bloomberglaw.com/business-
and-practice/women-lawyers-held-to-tougher-standard-when-it-comes-to-anger.
                                         24
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            • Although women represent 50% of law school graduates since the mid-

               90s, the number of published women authors in the top ten law reviews

               in 2017 hovered around 20%;90

            • Women only represent 32% of law school deans;91

            • Women and minority judicial candidates receive lower qualification

               ratings from the ABA than do White males with identical qualifica-

               tions;92

            • Almost 70% of lawyer women of color say they were paid less than

               their colleagues with similar experience and seniority;93

            • Lawyer women of color reported that they had been mistaken for ad-

               ministrative staff, court personnel, or janitorial staff at a level 50 per-

               centage points higher than White males;94



90
  LawProfBlawg, Are Law Review Articles A Waste Of Time?, Above the Law (Apr.
17, 2018), https://abovethelaw.com/2018/04/are-law-review-articles-a-waste-of-
time
91
   MCCA’s 18th Annual General Counsel Survey: Breaking Through the Concrete
Ceiling, One Woman at a Time. Minority Corporate Counsel Association, Winter
2017, https://www.pbi.org/docs/default-source/default-document-library/10569_a-
current-glance-at-women-in-the-law-jan-2018-(1).pdf?sfvrsn=0.
92
  Susan Hagen-Rochester, Is American Bar Association Biased Against Women and
Minority Judges?, (Feb. 28, 2018), https://www.futurity.org/aba-biased-women-mi-
nority-judicial-nominees/.
93
     Williams, supra note 42.
94
     Id.
                                            25
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            • Women and lawyers of color reported higher levels of bias than White

               men regarding equal opportunities related to hiring, receiving fair per-

               formance evaluations, mentoring, receiving high-quality assignments,

               accessing networking opportunities, getting paid fairly, and getting pro-

               moted;95

            • Most women lawyers report having experienced or witnessed sexual

               harassment in the workplace;96

            • Sexual harassment still affects women lawyers at all levels, including

               judges, partners, general counsels and law professors;97

            • Almost 70% of lawyer women of color report leaving or considering

               leaving the legal profession due to the challenges that they face;98




95
     Id.
96
   Legal Week, Most Female Lawyers Have Experienced or Seen Workplace Sexual
Harassment, Law.com (Sept. 2019), https://www.law.com/international-edi-
tion/2019/09/11/most-female-lawyers-have-experienced-or-seen-workplace-sex-
ual-harassment/.
97
   Women Lawyers On Guard Inc. and Nextions, Still Broken: Sexual Harassment
and Misconduct in the Legal Profession (July 2020) https://womenlawyerson-
guard.org/wp-content/uploads/2020/03/Still-Broken-Full-Report-FINAL-3-14-
2020.pdf.
98
 Destiny Peery, Paulette Brown, and Eileen Letts, Left Out and Left Behind: The
Hurdles, Hassles, and Heartaches of Achieving Long-Term Legal careers for
Women of Color (June 22, 2020), https://www.americanbar.org/content/dam/aba/ad-
ministrative/women/leftoutleftbehind-int-f-web-061020-003.pdf.
                                           26
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               • 40% of Native American lawyers in one study reported experiencing

                  demeaning comments or other types of harassment based on their tribal

                  affiliation; 99

               • 33% of Native American lawyers reported experiencing one or more

                  forms of discrimination based on their tribal affiliation; 100 and

               • 30% of Native American lawyers reported that they felt they had been

                  treated differently from their peers because of their tribal affiliation.101

            Prohibiting Pennsylvania-licensed attorneys from discrimination and harass-

ment in the practice of law is integral to promoting diversity in the state’s legal pro-

fession, and eradicating conduct that is simply unacceptable.

IV.         LAWYERS ARE OFFICERS OF THE COURT AND SHOULD BE
            ACCOUNTABLE FOR DISCRIMINATORY STATEMENTS AND
            ACTIONS, UNDER RULES OF PROFESSIONAL CONDUCT.

            Members of the Pennsylvania bar are representatives of clients, officers of

the legal system, and public citizens. As such, they have a special responsibility for

the quality of justice.102 The Pennsylvania Supreme Court has long looked to law-

yers to maintain the integrity of the bar, for the benefit of the entire system of justice.




99
     NNABA, supra note 25.
100
      Id.
101
      Id.
102
      PA Rules of Professional Conduct Preamble ¶ 1
                                               27
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More than 140 years ago, the Court expressed that principle in In re Davies, 93 Pa.

116 (1880) when it stated, “[t]he position of a member of the bar is one of great

responsibility. Good faith and integrity in his professional employments are essen-

tially necessary. It is the duty of a court to see the proper standing is preserved.”

The disciplinary system is a crucial part of that process.103 Pennsylvania’s system

of lawyer discipline is designed to protect the public from unfit attorneys and main-

tain the integrity of the legal system.104 That is why the Pennsylvania Supreme Court

has repeatedly emphasized the need to preserve public confidence in the legal pro-

fession and the judicial system.105

         Appellee contends that lawyers could theoretically be subject to a bar com-

plaint if they quote or repeat racist, homophobic, or sexist comments in a CLE pro-

gram. He argues that, because those words might be taken personally or offensively

by an individual in attendance, Rule 8.4(g) should be thrown out.

         But Appellee is simply incorrect that a lawyer in Pennsylvania would be vul-

nerable to discipline just for quoting a case that in turn used offensive racial, gender

or ethnic terms at a CLE. Among other things, Rule 8.4(g) was carefully drafted to




103
      See, e.g., In Re Davies, 93 Pa. 116 (1880) and its progeny.
104
      See, e.g., Off. of Disciplinary Counsel v. Glass, 694 A.2d 1098 (Pa. 1997).
105
      See Off. of Disciplinary Counsel v. Lewis, 426 A.2d 1138, 1142 (Pa. 1981).
                                           28
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require “intent” to discriminate or harass. That is why, for example, presenting of-

fensive racially biased content in a CLE seminar to explain how such content fac-

tored into a court decision or evidence in a trial concerning discrimination does not

violate Rule 8.4(g).

            In fact, the Office of Disciplinary Counsel (“ODC”), which is responsible for

investigating complaints against Pennsylvania-licensed attorneys for violating the

Pennsylvania Rules of Professional Conduct and charging and prosecuting attorneys

under the Pennsylvania Rules of Disciplinary Enforcement, has stated as much.106

The ODC receives complaints, determines whether complaints are frivolous or re-

quire further investigation, and whether the alleged conduct meets the standard re-

quired to pursue discipline.107 As Chief Disciplinary Counsel, Thomas J. Farrell has

authority to direct how ODC interprets the Rules of Professional Conduct, as well

as determining the ODC’s policy on handling complaints, including those raising

First Amendment issues.108 All recommendations to the Disciplinary Board that

ODC pursue charges against an attorney require his review and express approval.109




106
      JA 275.
107
      JA 276.
108
      Id.
109
      Id.
                                              29
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The ODC interprets Rule 8.4(g) as encompassing only conduct which targets indi-

viduals by harassing or discriminating against an identifiable person.110 The ODC

does not interpret Rule 8.4(g) as prohibiting general discussions of case law or “con-

troversial” positions or ideas.111

            Mr. Farrell stated under oath that all of the hypothetical violations identified

in the Amended Complaint at ¶¶ 17-23, 26-32, 92-94, 97, 99, and 101 for speech in

presentations, speeches, writings, and similar activities do not violate Rule 8.4(g),

and the ODC would not pursue discipline for them.112 Thus, an allegation that some-

one was offended by a speech or writing that does not target individuals by harassing

or discriminating, does not come within Rule 8.4(g), and the ODC would not pursue

discipline on that basis.113 Indeed, the egregious conduct described in In re Tray-

wick, 860 S.E.2d 358 (S.C. 2021), would not violate Pennsylvania Rule 8.4(g), and

the ODC would not pursue discipline under the Rule on this basis.114

            Appellee admits that he is not aware that anyone has filed a complaint of un-

ethical conduct or other misconduct with the Pennsylvania ODC against him based




110
      Id.
111
      Id.
112
      Id.
113
      JA 278.
114
      Id.
                                               30
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upon his CLE presentations,115 and that he never has had and has no intention in the

future to intimidate, denigrate, show aversion or hostility, treat a person as inferior,

or disregard relevant considerations of individual characteristics or merit because of

any of the twelve bases enumerated in Pa. Rule 8.4(g).116

         Appellee nevertheless wants this Court to throw out the baby with the bath-

water. Because he can imagine a hypothetical bar complaint based on hypothetical

unhappiness with a hypothetical statement in a CLE that Disciplinary Counsel non

hypothetically would not pursue, he asks this Court to hold that Rule 8.4(g) violates

the First Amendment. And, in doing so, Appellee seek to put Pennsylvania in a

place of its own—where, unlike other jurisdictions, discrimination or harassment by

attorneys is immunized from bar discipline. Cf. In re Abrams, 488 P.3d 1043 (Colo.

2021) (involving lawyer disciplined under Rule 8.4(g) for describing a judge as “gay,

fat, fag” to a client).

         The District Court thus overreached when it concluded that Rule 8.4(g) does

not contain “reasonable contextual limitations” because it applies to CLE and other




115
      JA 313.
116
      JA 314.
                                          31
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related educational seminars where legal credits are offered.117 Professional educa-

tion for attorneys is required in most States as a condition for maintaining one’s

license to practice law. According to the ABA, CLEs “assist in expanding the ap-

preciation and understanding of the ethical and professional responsibilities and ob-

ligations of lawyers’ respective practices; in maintaining certain standards of ethical

behavior; and in upholding and elevating the standards of honor, integrity, and cour-

tesy in the legal profession.”118

            Pennsylvania does require lawyers to participate in CLE, 119 which was

adopted to assure that lawyers admitted to practice in the Commonwealth continue

to maintain the requisite knowledge and skill necessary to fulfill their professional

responsibilities.120 The Preamble Statement of Purpose for the regulations adopted

by the Pennsylvania Rules for Continuing Legal Education (“PACLE”) explains that

“[t]he public properly expects that lawyers, in the practice of the law, will maintain




117
   JA 113. Rule 8.4(g) applies to “participation in judicial boards, conferences, or
committees; continuing legal education seminars; bench bar conferences; and bar
association activities where legal credits are offered.” Pa. R.P.C. 8.4 cmt. 3.
118
      Id.
119
    See Supreme Court of Pennsylvania Continuing Legal Education Board,
https://www.pacle.org/about.
120
      Id.
                                            32
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throughout their careers certain standards of professional competence and ethical

behavior.”121

            The CLE requirement is governed under the auspices of the Supreme Court

of Pennsylvania. The PACLE requires that CLE shall be on the subjects of: (i)

substantive law, practice, and procedure, (ii) lawyer ethics and the rules of profes-

sional conduct, (iii) professionalism, (iv) substance abuse as it affects lawyers and

the practice of law.122 The “standards” for CLE activities that qualify for credit in-

clude that the activity shall have significant intellectual or practical content, the pri-

mary objective of which is to improve the participants’ professional competence and

ethical behavior.123

            It thus is difficult to conclude that CLE programing is not related to the ad-

ministration of justice and practice of law in Pennsylvania. It is required as a tech-

nical matter to remain a practicing lawyer because it expands each lawyer’s compe-

tence and understanding of professional responsibilities. CLE speakers know full

well that they are doing so to help those in attendance keep up their level of prepar-

edness to practice. Any suggestion that those attending such programs can be subject

to discrimination without a remedy in the Rules of Professional Conduct undermines


121
     PACLE, Rules & Regulations, Preamble: Statement                        of   Purpose,
https://www.pacle.org/rules-and-regulations#reg_preamble.
122
    Pa. R.C.L.E. 105.
123
      Id.
                                              33
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and harms the profession. Put simply, those required to attend CLE should not be

required to do so without assurance that they are protected from discrimination or

harassment there.

        Appellee also cannot explain how hateful speech designed to denigrate indi-

viduals on the basis of characteristics such as gender, ethnicity or race is less odious

than false statements, or fraud, or misrepresentations. “[D]ishonesty, fraud, deceit

or misrepresentation” are prohibited by Rule 8.4(c) in Pennsylvania even if not con-

nected with the practice of law. See Pa. R. D.E. 301(a). Rule 8.4(g) is far narrower

in that it only applies to lawyers in certain professional contexts. But the Pennsyl-

vania Supreme Court should not be blocked from regulating targeted, discriminatory

speech and conduct prohibited by Rule 8.4(g) based on Appellee’s imaginings that

he might become some kind of victim. The intentionally discriminatory conduct

prohibited by Rule 8.4(g) damages the public’s perception of the profession in ways

that the Pennsylvania Supreme Court has long sought to prevent through its regula-

tion of the bar.




                                          34
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                                      CONCLUSION

            The claim that the First Amendment “entitles lawyers to make racist, sexist

and homophobic statements in connection with law practice is an embarrassment.”124

A lawyer should demonstrate respect for the legal system and for those who serve it,

including judges, other lawyers, public officials and the community at large.125

            For the foregoing reasons, and those in the Appellants’ brief, the District

Court’s judgment should be reversed.


                                                  Respectfully submitted,

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124
   Debra Cassens Weiss, Second state adopts ABA model rule barring discrimina-
tion and harassment by lawyers, ABA Journal (June 13, 2019), https://www.aba-
journal.com/news/article/second-state-adopts-aba-model-rule-barring-discrimina-
tion-by-lawyers.
125
      Id.
                                             35
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                                           National Bar Association, National
                                           Asian Pacific American Bar
                                           Association, Asian Pacific American
                                           Bar Association of Pennsylvania,
                                           National Bar Association, National
                                           Native American Bar Association,
                                           National LGBTQ+ Bar Association,
                                           and National Association of Women
                                           Lawyers

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                    CERTIFICATE OF BAR MEMBERSHIP

      Pursuant to Local R. 28.3(d) and Local R. 46.1(e), I certify that I, German A.

Gomez, am admitted as an attorney and counselor of the United States Court of Ap-

peals for the Third Circuit.

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                      CERTIFICATE OF COMPLIANCE

      Pursuant to Fed. R. App. P. 32(g), I certify the following:

      1. This brief complies with the type-volume limitation of Fed. R. App. P.

29(a)(5) because it contains 6,500 words, excluding those parts exempted by Fed. R.

App. P. 32(f).

      2. This brief complies with the typeface and type style requirements of Fed.

R. App. P. 32(a)(5) and Fed. R. App. P. 32(a)(6) because the brief has been prepared

in Times New Roman 14-point font using Microsoft Office Word for Office 365.

      3. This brief complies with the electronic filing requirements of Local R.

31.1(c) because the text of the electronic brief is identical to the text of the paper

copies and because Microsoft Defender for Endpoint was run on the file containing

the electronic version of this brief and no viruses were detected.

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                         CERTIFICATE OF SERVICE


      I hereby certify that the foregoing was filed with the Clerk using the appellate

CM/ECF system on September 13, 2022. All counsel of record are registered

CM/ECF users, and service will be accomplished by the CM/ECF system.

      I further certify that on September 13, 2022, seven (7) true and correct copies

of the Brief for Amici Curiae Hispanic National Bar Association, National Asian

Pacific American Bar Association, Asian Pacific American Bar Association of Penn-

sylvania, National Bar Association, National Native American Bar Association, Na-

tional LGBTQ+ Bar Association, and National Association of Women Lawyers

were sent to the Clerk of Court via Federal Express.

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